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                    IN THE UNITED STATES BANKRUPTCY COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

In re:                                                   Chapter 7

Power Home Solar, LLC                                    Case No. 22-50228


                       Debtor(s).

         OBJECTION TO AMENDED CLAIMS OF JPMORGAN CHASE BANK, N.A.,
            AS ADMINISTRATIVE AGENT (AMENDED CLAIM NO. 3901) AND
             JPMORGAN CHASE BANK, N.A. (AMENDED CLAIM NO. 3904)


NOW COMES, Jimmy R. Summerlin, Jr., Trustee, by and through the undersigned counsel,
pursuant to 11 U.S.C. § 502 and Fed. R. Bankr. P. 3007, and hereby objects to the Proof of
Claims filed by JPMorgan Chase Bank, N.A., As Administrative Agent, and JPMorgan
Chase Bank, N.A. (“Claimants”), and, in support, respectfully represents:

   1. Power Home Solar, LLC d/b/a Pink Energy (the “Debtor” or “PHS”) filed a petition
under the Bankruptcy Code in this Court on October 7, 2022.

   2. Jimmy R. Summerlin, Jr. is the duly appointed, qualified and acting Trustee of the
Debtor’s Chapter 7 case.

    3. On February 10, 2023, Claimants filed in the records of this Court certain Proof of
Claims marked in the Court's Claims Register as Claim Nos. 3901 (the “Loan Claim”) and 3904
(the “Credit Card Claim”) (collectively, the “Claims”), which Claims are alleged to be secured
by “All Assets” of the Debtor.

    4. On March 9, 2023, the Trustee filed his Objection to the Claims (Docket No. 366).

    5. On March 24, 2023, in partial response to the Objection, JPMorgan filed amendments to
the Claims (the “Amended Claims”).

    6. The Trustee files this Objection for the purposes of clarifying that the Amended Claims
did not satisfy most of the Trustee’s objections to the originally filed Claims and that the Trustee
maintains those objections as set forth herein.

   7. The Debtor is/was a Delaware limited liability. The Trustee asserts that, except a
specifically set forth in the Bankruptcy Code and or Article 9 of the Delaware Uniform
Commercial Code, matters governing the creation, perfection, priority, and other issues
concerning Claimants’ alleged secured status are governed by the Delaware Uniform
Commercial Code (the “UCC”).
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    8. The Trustee objects to the Claims on the following grounds and requests the Court to
determine whether Claimants holds a properly perfected security interest in certain of the
Debtor’s assets, as follows:

          a. The Trustee objects if and to the extent the Claims allege a security interest in any
             asset in which the Claimants have acknowledged no lien in that certain Order on
             Trustee’s Motion (A) For Approval of Carve-Out Agreement with JPMorgan
             Chase, N.A., ET AL., for Liquidation of the Debtor’s Assets; (B) For Approval of
             Auction Marketing Agreement; and (C) To Sell Assets Free and Clear of Any and
             All Liens, Encumbrances, Claims and Interests (the “Sale Order”) (Docket No.
             232), including specifically, but without limitation, the Title Property and the
             Chapter 5 Actions (each as defined in the Sale Order).

          b. The Trustee objects if and to the extent the Claims allege a security interest in any
             Commercial Tort Claims, as defined in the UCC, in any cases other than the
             following:

                  i. PHS v. Orbit Marketing LLC (d/b/a Climax Solar) and Joshua Thompson -
                     Case No. 21-cv-703, United States District Court, Western District of
                     Michigan;
                 ii. PHS v. Hummingbird Solar LLC and Bradley Shaver - Case No. 2021-
                     cvs-332, General Court of Justice Superior Court Division, County of
                     Iredell, NC;
                iii. PHS v. Christopher Lavalla - Case No. 2021-CP-40-02641, Court of
                     Common Pleas for Fifth Judicial District, County of Richland, SC;
                iv. HS v. Lucas McDermott - Case No. 2:21-cv-02229-CSB, United States
                     District Court for the Central District of Illinois;
                 v. PHS v. Eric Heath - Case No. 3:21-cv-02229-CMC, United States District
                     Court for the District of South Carolina; and
                vi. PHS v. Lyle Ciardi - Case No. 21-cvs-11484, Superior Court Division for
                     the County of Mecklenburg, North Carolina.

          c. The Trustee objects to the alleged security interest in any Commercial Tort
             Claims against Generac Power Systems, Inc., including specifically, but without
             limitation, those set forth in PHS v. Generac Power Systems, Inc. – Case No.
             6:22-cv-000043-NKM, United States District Court for the Western District of
             Virginia. The Trustee alleges such security interests are avoidable pre-petition
             transfers and potential Chapter 5 Action and reserves all rights to bring Chapter 5
             Actions in accordance with the provisions of the Sale Order.

          d. The Trustee objects if and to the extent the Claims allege a security interest in any
             Deposit Accounts, as defined in the UCC, over which Claimants do not maintain
             control, as defined in the UCC.

          e. The Trustee objects if and to the extent the Claims allege a security interest in any
             Employee Retention Tax Credits, including specifically, but without limitation,
             any credits that may be due the Debtor/Estate pursuant to the CARES Act, the
             Consolidated Appropriations Act of 2021, the American Rescue Plan Act of 2021,
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               and the Infrastructure Act of 2021, each as may have been or may be modified,
               amended, or extended from time to time.

           f. The Trustee objects if and to the extent that Claims allege a security interest in
              any tax refunds for any taxing period ending after the Petition Date (i.e., tax years
              2022 and following).

           g. The Trustee objects if and to the extent the Claims allege a security interest in any
              assets of the debtor not specifically identified or adequately described, in
              accordance with the UCC, in that certain Pledge and Security Agreement dated
              November 23, 2021 by and between the Debtor and Claimants.

           h. The Trustee objects to the amount stated for the Credit Card Claim in that the
              Trustee is without sufficient information from which to properly evaluate and
              review the veracity of the amount claimed and, in particular, but without
              limitation, the Credit Card Agreement provides for the possibility of various
              rebates and potentially other credits for which the Trustee lacks information.

           i. To the extent they are contrary to the facts herein or applicable law, the Trustee
              objects to the generalized statements contained in Paragraph 10 of the Loan Claim
              and Paragraph 11 of the Credit Card Claim.

   9. The Trustee reserves the right to (a) amend and/or supplement this Objection at any time
and in any manner; and (b) to file additional objections should the Claims be amended or
additional claims filed by Claimants.

WHEREFORE, the Trustee respectfully prays the Court to hold one or more hearings to
determine if and/or to what extent Claimants holds a properly perfected security interest in
certain of the Debtor’s assets, as described above, the validity of the Claims, and for such other
and further relief as is just and proper.

NOTE: No Notice of Hearing is included. Hearings will be noticed following scheduling in
consultation with Claimants’ counsel and the Court.

Dated: April 21, 2023.
                                             YOUNG, MORPHIS, BACH & TAYLOR, LLP

                                              /s/ Jimmy R. Summerlin, Jr.
                                             Jimmy R. Summerlin, Jr.
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                      Debtor(s).

                                CERTIFICATE OF SERVICE

         I hereby certify that copies of the foregoing document were served by electronic

notification on those parties registered with the United States Bankruptcy Court, Western District

of North Carolina ECF system to receive notices for this case on April 21, 2023.

Dated: April 21, 2023.                       YOUNG, MORPHIS, BACH & TAYLOR, LLP

                                             /s/ Jimmy R. Summerlin, Jr.
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